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UNITED STATES DISTRICT C()URT
MIDDLE DISTRICT OF FLORII)A

TAMPA DIVISION
MALIBU MEDIA, LLC, )
)
Plaintifl", ) Civil Action Case No.
)
v. )
)
JOHN DOE subscriber assigned IP address )
72.91.144.148, )
)
Delendaiit_ )
)

 

COMPLAINT-ACTION FOR DAMAGES FOR
PROPERTY RIGHTS INFRINGEMENT AND DEMAND FOR JURY TRIAL

Plaintiff, Malibu Media, LLC, sues Defendant Jolm Doe subscriber assigned IP
address 72.91.144.148, and alleges:
lntroduetion

1. This matter arises under the United States Copyright Act of 1976, as amended, l'/’
U-S.C. §§ 101 et seq. (the “Copyright Act”).

2. Defendant is a persistent online infringer of Plaintiff’s copyrights Incfeed,
Defendant’s IP address as set forth on E><hibit A was used to illegally distribute each of
the copyrighted movies set forth on Exhibit B.

3. Plaintiff is the registered owner of the copyrights set forth on Exhibit B (the

“Copyrights~in~Suit”).

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Jurisdiction And Venue

4. 'i`his Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §
1331 (federal question)', and 28 U.S.C. § 1338 (patents, copyrights, trademarks and unfair
competition).

5. Plaintiff used proven lP address geolocation technology which has consistently
worked in similar cases to ensure that the Defendant’s acts oi" copyright infringement
occurred using an lnternet Protoeol address (“iP address”) traced to a physical address
located within this District, and therefore this Court has personal jurisdiction over the
Defendant because (i) Defendant committed the tortious conduct alleged in this
Complaint in this State, and (ii) Det`endant resides in this State and/or (iii) Defendant has
engaged in substantial and not isolated business activity in this State.

6. Based upon experience filing over l,OOO cases the geolocation technology used by
Plaintift` has proven to be accurate to the District level in over 99% of the cases.

7. Venue is proper in this Distriet pursuant to 28 U.S.C. § 139l(b) and (c), because:
(i) a substantial part of the events or omissions giving rise to the claims occurred in this
Distriet; and, (ii) the Defendant resides (and therefore can be found) in this District and
resides in this State; additionally, venue is proper in this District pursuant 28 U.S.C. §
l400(a) (venue for copyright cases) because De'fendant or Defendant’s agent resides or
may be found in this District.

l’_tl_!;!_i£§
8. Plaintit`f, l\/lalibu Media, LLC, (d/b/a “X-Art.com”) is a limited liability company

organized and existing under the laws of the State of Calit`ornia and has its principal place

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ot` business located at 409 W; Olympic Blvd., Suite 501, Los Angeles, CA, 90015.

9. Plaintiff only knows Det"endant by his, her or its lP Address. Defendant’s lP
address is set forth on Exhibit A.

10. Defendant’s Internet Service Provider can identify the Defendant.

Factual Background

I. Defendcm! Used the BilTor)-'ent Ff!e Dislribution Neti~vork To
lafrfnge Plain!z`fj"s Copvrighl,s'

 

ll. 'i`he BitToi'i'ent tile distribution network (“BitTorrent”) is one ot` the most
common peer~to-peer tile sharing systems used for distributing large amounts of data,
including, but not limited to, digital movie files

l?.. Bit'l`orrent’s popularity stems from the ability of users to directly interact With
each other in order to distribute a large tile without creating a heavy load on any
individual source computer and/or network. Tbe methodology of BitTorrent allows users
to interact directly with each other, thus avoiding the need for intermediary host websites
which are subject to Dl\/ICA take down notices and potential regulatory enforcement
actions

13. 111 order to distribute a large tile, the BitTorrent protocol breaks a file into many
small pieces called bits. Users then exchange these small bits among each other instead
of attempting to distribute a much larger digital tile.

14. After the infringer receives all of the bits of a digital media tile, the infringer’s
Bit'i`orrent client software reassernbles the bits so that the tile may be opened and
utilized

15. Each bit of a BitTorrent tile is assigned a unique cryptographic hash value.

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16. The cryptographic hash'value of the bit (“bit hash”) acts as that'bit’s unique
digital fingerprint livery digital file has one single possible cryptographic hash value
correlating to it. The BitTorrent protocol utilizes cryptographic hash values to ensure
each bit is properly routed amongst BitTorrent users as they engage in file sharing.

l7. The entirety of the digital media file also has a unique cryptographic hash value
(“file hash”), which acts as a digital fingerprint identifying the digital media tile (e.g. a
movie). Once infringers complete downloading all bits which comprise a digital media
tile, the BitTorrent software uses the tile hash to determine that the tile is complete and
accurate.

18. Plaintifl” s investigator, lPP international UG, established a direct TCP/IP
connection with the Det`endant’s IP address as set forth on Exhibit A.

19. IPP International UG downloaded from l)efendant one or more bits of each of the
digital movie files identified by the file hashes on Exhibit A.

2(). Defendant downloaded, copied, and distributed a complete copy of Plaintifl”s
movies without authorization as enumerated on Exhibit A.

21. Each of the cryptographic file hashes as set forth on Exhibit A correlates to a
copyrighted movie owned by Plaintiff as identified on Exhibit B.

22. IPP lnternational UG downloaded from Defendant one or more bits of each tile
hash listed on Exhibit A. lPP lnternational UG further downioaded a full copy of each
file hash from the Bit"l`orrent tile distribution network and confirmed through
independent calculation that the file hash matched what is listed on Exhibit A. IPP

lnternational UG then verified that the digital media tile correlating to each tile hash

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listed on Exhibit A contained a copy of a movie which is identical (or alternatively_.
strikingly similar or substantially similar) to the movie associated with that tile hash on
Exhibit A. At no time did iPP lnternational UG upload Plaintift's copyrighted content to
any other BitTorrent user.

23. IPP lnternational UG connected, over a course of time, with Defendant’s lP
address for each hash value as listed on Exhibit A. The most recent TCP/lP connection
between IPP and the Defendant‘s lP address for each file hash value listed on Exhibit A is
included within the column labeled Hit Date UTC. UTC refers to Universal 'l`ime which
is utilized for air traffic control as well as for computer forensic purposes

24. An overview of the Copyrights-in-Suit, including each hit date, date of first
publication, registration date, and registration number issued by the United States
Copyright Ofl'ice is set forth on Exhibit B.

25. lPP’s software also logged Defendant’s IP address being used to distribute third
party files through Bit'l`orrent. T his evidence indicates that Defendant engaged in
Bit"forrent transactions associated with 786 files between 09/03/2013 and 08/20/2014.
Collectively, this evidence is referred as the “Additional Evidence.”

26. Plaintiff has the Additional Evidence on a document and can produce it.

27. The Additional Evidence demonstrates that Defendant is a persistent Bit"l`orrent
user.

28. l\/lany of the titles to the third party works may also be relevant to proving
Defendant is the infringer because they correlate to the Defendant’s hobbies, protession,

or other interests

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Misccllaneous '
29. All conditions precedent to bringing this action have occurred or been waived.
30. Plaintiff has retained counsel and is obligated to pay said counsel a reasonable fee
for its services

COUNT I
Direct Infringement Against Defendant

31. The allegations contained in paragraphs 1-30 are hereby ice-alleged as if fully set
forth herein.
32. Plaintiff is the owner of the Copyrights-in-Suit, as outlined in Exhibit B, each of
which covers an original work of authorship
33. By using BitTorrent, Defendant copied and distributed the constituent elements of
each of the original Works covered by the Copyrights-in~Suit.
34. Plaintiff did not authorize, permit or consent to Defendant’s distribution of its
works
35. As a result of the foregoing, Defendant violated Plaintiff"s exclusive right to:
(A) Reproduce the works in copies, in violation of 171 U.S.C. §§ 106(1) and 501;,
(B) Redistribute copies of the works to the public by sale or other transfer of
ownership, or by rental, lease or lending, in violation of 17 U.S.C. §§ 106(3) and 501;
(C) Perform the copyrighted works, in violation of 17 U.S.C. §§ 106(4) and
501, by showing the works’ images in any sequence and/or by making the sounds
accompanying the works audible and transmitting said performance of the works, by
means of a device or process, to members of the public capable of receiving the display

(as set forth in 17 U.S.C. § 101’5 definitions of“perforin” and "'publically” perform);

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(D) Display the copyrighted works, in violation of 17 U.S.C. §§ 106(5) and
50l, by showing individual images of the works nonsequentially and transmitting said
display of the Works by means of a device or process to members of the public capable
of receiving the display (as set forth in 17 U.S.C. § lOl’s definition of “publically”
display).
36. Defendant’s infringements were committed “willfully” within the meaning of 17
U.S.C. § 504(c)(2).
Wl~iEREFORE, Plaintiff respectfully requests that the Court:

(A) Permanently enjoin Defendant and all other persons who are in active
concert or participation with Defendant from continuing to infringe Plaintiff"s
copyrighted works;

(B) Order that Defendant delete and permanently remove the digital media files
relating to PlaintifFS works from each of the computers under Defendant’s possession,
custody or control;

(C) Order that Defendant delete and permanently remove the infringing copies
of the works Defendant has on computers under Defendant’s possession, custody or
control;

(D) Award Plaintifl" statutory damages per infringed Work pursuant to 17
U.S.C. § 504-(a) and (c);

(E) Award Plaintiff its reasonable attorneys’ fees and costs pursuant to l7
U.S.C. § 505; and

(F) Grant Plaintiff any other and further relief this Court deems just and proper.

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DEMAND FOR A JURY TRIAL

Plaintiff hereby demands a trial by jury on all issues so triable.

 

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